






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00324-CR







Richard Nathan Hauck, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 368TH JUDICIAL DISTRICT


NO. 01-1090-K368, HONORABLE BURT CARNES, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



Richard Nathan Hauck seeks to appeal an order revoking community supervision and
imposing sentence.  Sentence was imposed on June 20, 2007.  The pro se notice of appeal was filed
on May 29, 2009, almost two years late.  See Tex. R. App. P. 26.2(a).  Under the circumstances, we
lack jurisdiction to dispose of the purported appeal in any manner other than by dismissing it for
want of jurisdiction.  See Slaton v. State, 981 S.W.2d 208 (Tex. Crim. App.1998); Olivo v. State,
918&nbsp;S.W.2d 519, 522-23 (Tex. Crim. App. 1996).

The appeal is dismissed.



				__________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Pemberton

Dismissed for Want of Jurisdiction

Filed:   July 24, 2009

Do Not Publish


